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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    :
                                            :
                 v.                         :      Case No. 1:21-cr-444-JEB
                                            :
BRIAN MOCK,                                 :
                                            :
                      Defendant.            :


                           NOTICE OF ATTORNEY APPEARANCE


       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court that the above-captioned matter is assigned to

Assistant United States Attorney, Michael M. Gordon, detailed to the United States Attorney’s

Office for the District of Columbia,       who     may    be   contacted    by   telephone    at

202-365-5454     or   by    email   at michael.gordon3@usdoj.gov. This is notice of his

appearance in this matter on behalf of the United States. Mr. Gordon joins Ms. Jawad, who

remains assigned to the case.

                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            United States Attorney DC
                                            Bar No. 481052


                                    By:          /s/
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